Case 15-40289-mxm11 Doc 347-5 Filed 05/20/15   Entered 05/20/15 01:11:53   Page 1 of 7




                     EXHIBIT D-2
       Case 15-40289-mxm11 Doc 347-5 Filed 05/20/15                                              Entered 05/20/15 01:11:53                     Page 2 of 7

                                                          Life Partners                                      ®

                                    "Life Partners" is a registered service mark of Life Partners, Inc.
                      204 Woodhew Dr. Waco, Texas 76712                phone: (254) 751-7797 fax: (254) 751-1025

                                                                                                     Licensee No.____________________________

AGENCY AGREEMENT AND SPECIAL POWER OF ATTORNEY FOR PURCHASES
                THROUGH A RETIREMENT PLAN
This agency agreement is entered into this _____day of _________, 20_______ between ________________________________________________
                                                                                                      Purchaser/Accountholder Name


Purchaser/Accountholder address                                                           city                     state               zip code

_________________________                                                                                        @
(area code) telephone number                 e-mail address

________________________________
password for online account access (We suggest that this password be six (6) characters long, and be a mix of letters, numbers, and special characters.)

(hereafter referred to as “PURCHASER”), through the following Custodian or Trustee of PURCHASER’s Retirement Plan Account:
     Provident Trust Group                                                                        Liberty Trust Company, Ltd.
     8880 W. Sunset Road, Suite 250                                                               c/o IPS
     Las Vegas, NV 89148                                                                          8226 Douglas Ave., Suite 520
     702-434-0023                                                                                 Dallas, TX 75225
                                                                                                  214-739-1977
     Plan Trustee or Other Custodian or Administrator: IRA________________________________________________
     address:____________________________________________________________________________________
     city, state zip:_______________________________________________________________________________
     phone:________________________________________________________________________________________________


(hereafter referred to as “CUSTODIAN/TRUSTEE”), and LIFE PARTNERS, INC. (hereinafter referred to as "AGENT"),
whose physical address is 204 Woodhew Dr., Waco, TX 76712 and whose mailing address is P.O. Box 20034 Waco,
Texas, 76702.

WHEREAS, AGENT is a company principally engaged in the identification, qualification and purchase of life insurance
policies (and related death benefits) of senior citizens and/or terminally ill individuals at a discount to their face value
(hereinafter referred to as “life settlement policies”); and

WHEREAS, PURCHASER is a participant in, beneficial owner of, or trustee of the above-referenced Retirement Plan
who, from time to time by special instruction, desires to have said Retirement Plan purchase one or more notes issued by a
viatical or life grantor trust which will each be secured by a portion of the proceeds of a life settlement policy; and

WHEREAS, PURCHASER has reviewed and approves and adopts the underwriting criteria used by AGENT to evaluate
and qualify said life settlement policies for purchase; and

WHEREAS both parties understand and agree that their relationship is one of principal and agent and that this
relationship and the transaction(s) contemplated hereunder does not constitute the sale of a security;

NOW THEREFORE IT IS HEREBY AGREED that the parties hereto shall enter into a relationship of principal and
agent in connection with the exercise of the powers and purposes described herein.

                                                                TERMS OF AGREEMENT

1.      AGENT shall identify and assist in the purchase of such life settlement policies specified by PURCHASER to be
used as collateral for said note and which comply with the following criteria:
     a. Insurance carrier must have a current rating of B+ or better from A. M. Best or a similar such rating from
        Moody's or an equivalent rating organization, unless waived by PURCHASER through execution of a
        Policy Funding agreement for an otherwise rated policy;
     b. Policy must be beyond its contestability period;
                                                                                    1                                                     v. 2.0 – February 1, 2011
     Case 15-40289-mxm11 Doc 347-5 Filed 05/20/15                     Entered 05/20/15 01:11:53            Page 3 of 7
    c. Insured must have an actuarially or medically determined life expectancy of no more than 10 years;
    d. Amount of lien against the life settlement policy, if any, must be disclosed.

A note secured by the proceeds of said life settlement policy equal to the amount due under the note shall be issued by
said viatical or life grantor trust to PURCHASER as lender.

2.       From time to time, PURCHASER shall, by and through CUSTODIAN/TRUSTEE tender funds (hereinafter the
“Policy Purchase Deposit”) with Advance Trust & Life Escrow Services, LTA (hereinafter referred to as the “ESCROW
AGENT”), to be deposited in a cash or cash equivalent account at JPMorgan Chase Bank, N.A. (hereinafter the “Escrow
Account”) to be held for the purpose of purchasing notes issued by viatical or life grantor trusts, with said notes being
collateralized by interests in life settlement policies. The check or draft for the Policy Purchase Deposit shall not be made
payable to AGENT, but shall be made payable to “Advance Trust & Life Escrow Services, LTA,” for deposit into the
Escrow Account. Interest from the Escrow Account will not be owned by or paid to PURCHASER, but will be retained
and owned by the AGENT and ESCROW AGENT as part of their respective fee structures. Neither AGENT nor
ESCROW AGENT shall have discretion or authority to invest or use the Policy Purchase Deposit in any manner
whatsoever other than as directed by PURCHASER, through CUSTODIAN/TRUSTEE, in a POLICY FUNDING
AGREEMENT or as provided herein. PURCHASER may at any time request and receive a refund of any portion of the
Policy Purchase Deposit placed in the Escrow Account which has not yet been used to purchase a life settlement policy
pursuant to a POLICY FUNDING AGREEMENT.

3.       After identification of a life settlement policy meeting the above described criteria, PURCHASER shall, by and
through CUSTODIAN/TRUSTEE, execute a POLICY FUNDING AGREEMENT for the purchase of a note issued by a
viatical or life grantor trust and secured by an interest in the life settlement policy, shall forward the same to AGENT, and
shall direct the CUSTODIAN/TRUSTEE to forward proceeds from the note equal to the Acquisition Cost set forth in the
POLICY FUNDING AGREEMENT, all of which shall be forwarded to the ESCROW AGENT. PURCHASER agrees
that a portion of the Acquisition Cost set out in each POLICY FUNDING AGREEMENT, said portion being determined
by AGENT based upon the life expectancy of the insured and the premium rate of the life settlement policy, shall be
deposited in a cash or cash equivalent account at JPMorgan Chase Bank, N.A. (hereinafter the “Premium Escrow
Account”) to be held for the payment of premiums on the life settlement policy by the ESCROW AGENT.
PURCHASER agrees to pay into the Premium Escrow Account, through CUSTODIAN/TRUSTEE, its share of any
additional premium amounts necessary to keep the life settlement policy in force should the amounts held in the Premium
Escrow Account for payment of premiums on the policy set forth in the POLICY FUNDING AGREEMENT be
exhausted. Interest from the Premium Escrow Account will not be owned by or paid to PURCHASER, but will be owned
and retained by the AGENT and ESCROW AGENT as part of their respective fee structures.

4.       AGENT has entered into an Escrow Services Agreement with the ESCROW AGENT, on behalf of PURCHASER
and other purchasers of life settlement policies, to hold their funds in safekeeping and ensure that they are used for the
purchase of life settlement policies, to distribute the necessary funds for the purchase of the life settlement policies to the
seller and other parties involved in the transaction, and to provide for the maintenance of the life settlement policies after
purchase. Additionally, the ESCROW AGENT holds the life settlement policies in safekeeping until the death of the
insured, thereafter applies for payment of the death benefit from the insurance carrier, and upon receipt, distributes all
proceeds as directed by PURCHASER, or AGENT on behalf of PURCHASER in accordance with the Funds Transfer
Instructions executed by AGENT on behalf of PURCHASER. Any Policy Purchase Deposit or other deposits of funds
made into the Escrow Account or Premium Escrow Account shall be subject to the terms of this agreement, any
applicable and duly executed POLICY FUNDING AGREEMENT, and the Escrow Services Agreement entered into
between AGENT and ESCROW AGENT. By entering into this agreement, PURCHASER hereby adopts and accepts the
terms of the Escrow Services Agreement. A copy of the Escrow Services Agreement has been provided to PURCHASER
in the disclosure materials it has received, and PURCHASER hereby acknowledges receipt thereof.

5.     PURCHASER HEREBY REPRESENTS AND WARRANTS THAT PURCHASER IS AN ACCREDITED
INVESTOR AS THAT TERM IS DEFINED UNDER SECURITIES AND EXCHANGE REGULATION D, RULE
501(a). PURCHASER FURTHER REPRESENTS AND WARRANTS THAT PURCHASER HAS ACCESS TO
PROFESSIONAL INVESTMENT ADVICE, HAS ADEQUATE MEANS OF PROVIDING FOR PURCHASER’S
CURRENT FINANCIAL NEEDS AND POSSIBLE CONTINGENCIES, HAS NO NEED FOR LIQUIDITY IN
THIS INVESTMENT, IS ABLE TO BEAR THE RISK OF AN INTEREST IN A LIFE SETTLEMENT POLICY
FOR AN INDETERMINATE PERIOD, COULD AFFORD A COMPLETE LOSS OF THE INVESTMENT AND
IS COMMITTING TO A PURCHASE WHICH BEARS A REASONABLE RELATIONSHIP TO
PURCHASER’S NET WORTH.
                                                              2                                        v. 2.0 – February 1, 2011
     Case 15-40289-mxm11 Doc 347-5 Filed 05/20/15                    Entered 05/20/15 01:11:53           Page 4 of 7
6.       PURCHASER represents and warrants that this transaction is being entered into solely for PURCHASER’s
benefit, by and through PURCHASER’s Retirement Plan and not for distribution, assignment or resale to others. Further,
PURCHASER represents and warrants that he/she has such knowledge and experience in financial, tax and business
matters (or has access to same) that he/she is able to evaluate the considerations involved in making such a purchase and
to make an informed decision with respect thereto.

7.      PURCHASER represents that (1) PURCHASER has established or is in the process of establishing a bona fide
IRA with the above-referenced Custodian, or (2) PURCHASER is the Trustee of the above-referenced Plan or (3)
PURCHASER is a participant in a Retirement Plan that permits PURCHASER to self-direct his/her account and that all
other representations made by PURCHASER herein are true and correct.

8.       PURCHASER acknowledges that AGENT has made available to PURCHASER or his/her personal representative
or advisor the opportunity to obtain additional information to verify the accuracy of the information contained in the
documents delivered to him/her and to evaluate the merits and risks of transactions conducted under this agreement.
PURCHASER represents that by reason of PURCHASER’s business and financial experience or that of those retained to
advise him, PURCHASER has the capacity to understand this transaction and to protect himself/herself with respect
thereto. Such representation does not, however, relieve AGENT from the responsibility to act at all times in the interest of
PURCHASER and to use its expertise diligently.

9.      PURCHASER acknowledges that in the course of evaluating life settlement policies for PURCHASER under this
agreement, AGENT will receive confidential information of insureds and policy owners wishing to sell their life insurance
policies through AGENT. AGENT is regulated by various laws which provide for the confidentially of certain medical
and identifying information of these insureds and policy owners, and cannot provide access to all of this information to
PURCHASER. Additionally, by law only licensed life settlement providers like AGENT may contact the insureds/policy
owners whose policies are purchased in a life settlement transaction. AGENT will provide PURCHASER with the
insured’s life expectancy, a summary of the medical information which serves as the basis for the life expectancy, and
policy information (such as premium information, face value, and the name of the issuing insurance company) necessary
for PURCHASER to make an informed decision about the purchase of the life settlement policy, in a document called a
“Confidential Case History,” a sample form of which has been provided to PURCHASER. However, AGENT will not
provide PURCHASER with personal contact information, medical records, or any other information determined by
AGENT or AGENT’s counsel, in their sole discretion, to be confidential by law and unable to be disclosed to entities not
licensed as a life settlement provider. PURCHASER hereby affirmatively represents, warrants, and agrees that it will not
receive certain confidential medical and identifying information about insureds/policy owners of the life settlement
policies purchased pursuant to this agreement, that it will keep strictly confidential any information it is provided about
any insureds/policy owners and shall not further disclose this information to others, and that it will not attempt to contact
any insured/policy owner unless PURCHASER becomes licensed as a life settlement provider with the appropriate
regulatory agency authorizing it to do so.

10.     PURCHASER acknowledges that he/she understands the meaning and legal consequences of the above
representations and warranties. PURCHASER agrees to indemnify and hold harmless AGENT and ESCROW AGENT
and their respective principals, agents, licensees and employees from any damage or liability due to or arising out of a
breach of any representation or warranty made herein by PURCHASER.

                                          SPECIAL POWER OF ATTORNEY

11.     By this agreement, PURCHASER does make, constitute and appoint LIFE PARTNERS, INC. its true and lawful
agent and attorney in fact and in his/her name, place and stead and for his/her use and benefit to:

    a. Enter into any agreements or contracts necessary for the purchase of life settlement policies designated by a duly
       executed POLICY FUNDING AGREEMENT and which fall within the agreed underwriting criteria set forth in
       this agreement and the related documents provided by AGENT which more fully describe said criteria. This
       includes, but is not limited to, filing, completing, executing, and recording any document reflecting the transfer of
       ownership and/or irrevocable assignment of benefits with the insurance carrier of the purchased life settlement
       policy and/or any governmental agency requiring notification of said transfer.

    b. Do any and all other actions which may be necessary to complete the loan transaction documents from the grantor
       trust secured by the proceeds of any such life settlement policy and to protect the rights of PURCHASER in said

                                                             3                                       v. 2.0 – February 1, 2011
       Case 15-40289-mxm11 Doc 347-5 Filed 05/20/15                       Entered 05/20/15 01:11:53           Page 5 of 7
           loan and any life settlement policy(ies) securing said loan.

      c. Issue instructions to the ESCROW AGENT necessary to ensure that the note payable to PURCHASER is paid
         from proceeds of the purchased life settlement policy received by the ESCROW AGENT.

      d. Notify PURCHASER of any amount necessary to replenish the Premium Escrow Account from which premium
         payments are made to maintain the life settlement policy interest which serves as collateral for the note.

      e. Instruct and direct ESCROW AGENT concerning the disbursement of the Acquisition Cost designated in each
         duly executed POLICY FUNDING AGREEMENT, the funding of the Premium Escrow Account from the
         Acquisition Cost, the payment of premiums for maintenance of the life settlement policy serving as collateral for
         the note from the Premium Escrow Account, the payment of AGENT’s fees, the payment of ESCROW AGENT’s
         fees, allocation of interest earned on the Escrow Account or Premium Escrow Account to AGENT and ESCROW
         AGENT, and filing of death claims on matured life settlement policies.

      f.   Instruct and direct Escrow Agent to transfer any of PURCHASER’s funds held in the Escrow Account and
           Premium Escrow Account, if required, to a replacement cash or cash equivalent Escrow Account and Premium
           Escrow Account held at an alternative financial institution.

      g. Advance, at the discretion of AGENT, any funds which may be necessary to replenish the Premium Escrow
         Account from which premium payments are made. Nothing herein shall obligate AGENT to make any such
         advance. However, if such advances are made, PURCHASER specifically authorizes ESCROW AGENT to
         reimburse AGENT for any such advances actually made from any amounts payable from ESCROW AGENT to
         PURCHASER from the proceeds of any life settlement policy purchased pursuant to this agreement; however
         nothing herein shall limit AGENT from recovering any such amount advanced in any other manner permitted
         under law.

      h. Obtain proof of death of the insured and instruct ESCROW AGENT regarding the filing of death claims and the
         payment of the death benefits of matured life settlement policies to the PURCHASER or the PURCHASER’s
         designee.

      i.    Upon the resignation or termination of ESCROW AGENT, appoint a successor independent escrow agent and
           transfer all escrowed funds and related records to the successor independent escrow agent, and the successor
           escrow agent shall assume all duties and obligations of the ESCROW AGENT. The ESCROW AGENT shall
           have no liability for the acts of the successor escrow agent.

12.      This SPECIAL POWER OF ATTORNEY shall convey NO OTHER AUTHORITY other than as stated in
paragraph 11 above upon AGENT. Specifically, Agent shall have NO AUTHORITY to take any action to change the
beneficiary of any life settlement policy purchased on behalf of PURCHASER to any party other than as specified herein
or in the POLICY FUNDING AGREEMENT relating to a specific policy and shall have no authority to take any action
which would dispossess PURCHASER of PURCHASER's ownership of such policy without specific instructions from
PURCHASER, by judicial fiat, or by the terms of the POLICY FUNDING AGREEMENT

13.        This agreement may be terminated at any time by either party with written notice to that effect.


"AGENT"
LIFE PARTNERS, INC.                 __________________________________________
                                    CORPORATE OFFICER

“PURCHASER”                                                  RETIREMENT PLAN TYPE:              Traditional IRA
                                                                                                Roth IRA
                                                                                                SEP IRA
_________________________________________________________                                       Pension/Profit Sharing/401K
Signature of Purchaser / Retirement Plan Owner or Beneficiary                                   Other________________________




                                                                 4                                     v. 2.0 – February 1, 2011
     Case 15-40289-mxm11 Doc 347-5 Filed 05/20/15                 Entered 05/20/15 01:11:53         Page 6 of 7
                                                   Privacy Notice

        In the normal course of its operations and provision of services to PURCHASER, AGENT will collect and
disclose certain private information about PURCHASER. Personal financial information about PURCHASER, such as
names, addresses, social security or tax identification numbers, assets, and incomes, will be initially obtained from
PURCHASER’s contracts, suitability form, and other documents. Other personal information about PURCHASER, such
as account balances, premium contributions, policy maturities, account data, and information about the purchase of life
settlements, will be obtained in the course of transactions between PURCHASER and AGENT and/or its affiliates or
service providers.
        Except as described below, this private information will be disclosed only as permitted by applicable law to
AGENT’s affiliates and service providers, including AGENT’s accountants, attorneys, custodians, escrow agent, and any
other parties whose services are necessary or convenient to the provision of its life settlement services under this
Agreement. Any party receiving private information about PURCHASER pursuant to the preceding sentence will be
authorized to use such information only to perform the services required and as permitted by applicable law.
         Access to private information about PURCHASER will be restricted to those employees of AGENT and its
affiliates or service providers who require such access to provide services to the AGENT and PURCHASER. AGENT
will maintain physical, electronic, and procedural safeguards to guard private information about PURCHASER. In all
events, AGENT may disclose certain information about PURCHASER: (a) to the seller of any life settlement policy as
required or permitted by law or by the contract entered into with the seller of said policy; (b) to entities other than
AGENT’s affiliates and service providers with consent of Purchaser; and (c) as otherwise required by applicable law.
         The foregoing privacy notice reflects a privacy policy that has been adopted by AGENT. It may be updated from
time to time upon notice to PURCHASER.




                                                          5                                     v. 2.0 – February 1, 2011
       Case 15-40289-mxm11 Doc 347-5 Filed 05/20/15                                           Entered 05/20/15 01:11:53                        Page 7 of 7

                                                           SUBSTITUTE FORM W-9

        REQUEST FOR TAXPAYER IDENTIFICATION NUMBER & CERTIFICATION

Taxpayer Name:                    ________________________________________________

& Address                         ________________________________________________

                                  ________________________________________________

Please complete the following information if you are a U.S. person (including a U.S. resident alien). We are required by law to
obtain this information from you when making a reportable payment to you. If you do not provide us with this information,
your payments may be subject to 30% federal income tax backup withholding, and you may also be subject to a penalty
imposed by the Internal Revenue Service under section 6723.

Part 1:               Provide your Taxpayer Identification Number and the name of the person or entity whose TIN you enter.
                      The TIN must be for the payee shown above. For an individual, your TIN is your Social Security Number.




My Taxpayer Identification Number is:                                          ________________________________
                                                                               Social Security Number OR TIN

Part 2 Certification:      I certify under penalty of perjury that: 1) the taxpayer identification number I have provided is correct,
and 2) I am not subject to backup withholding tax because (a) I am exempt from backup withholding, or (b) I have not been notified
by the IRS that I am subject to backup withholding as a result of failure to report all interest or dividends, or (c) the IRS has notified
me that I am no longer subject to backup withholding, and 3) I am a U.S. person (including a U.S. resident alien).

Certification Instructions. You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup withholding because you
have failed to report all interest and dividends on your tax return. For mortgage interest paid, acquisition or abandonment of secured property, cancellation of debt,
contributions to an individual retirement arrangement (IRA), and generally, payments other than interest and dividends, you are not required to sign the Certification,
but you must provide your correct TIN.

Person completing this form:          ________________________________________________


Signature of U.S. Person:             _______________________________________________                        Date: ________________



IMPORTANT: PURSUANT TO REQUIREMENTS UNDER THE PATRIOT ACT, PLEASE
ATTACH A COLOR COPY OF A GOVERNMENT ISSUED IDENTIFICATION DOCUMENT (such
as a driver’s license or passport).




                                                                                    6                                                     v. 2.0 – February 1, 2011
